 

Case 8:22-cv-00690-PX Document 1-2 Filed 03/21/22 Page 1 of 19

© IN THE CIRCUIT COURT FOR Prince George's County
CIVIL ~- NON-DOMESTIC CASE INFORMATION SHEET

(City or County)

 

DIRECTIONS

Plaintiff: This Information Report must be completed and attached to the complaint filed with the Clerk of Court unless

your case is exempted from the requirement by the Chief Judge of the Court of Appeals pursuant to Rule 2-111 (a).
Defendant: Y ou must file an Information Report as required by Rule 2-323(h).
THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING

 

PARTY’S NAME:

FORM FILED BY: & PLAINTIFF © DEFENDANT
CASE NAME: Jacqueline Pelt, et al.

Plaintiff

CASE NUMBER (21 Aa UST

VS. Maryland State Police; et al.

(Clerk to insert)

 

PHONE:

 

PARTY’S ADDRESS:

Defendant

 

 

PARTY’S E-MAIL:

 

If represented by an attorney: ai
PARTY’S ATTTORNEY’S NAME: Timothy F. Maloney & Samuel P. Morse _ PHONE: (301) 220-2200
PARTY’S ATTTORNEY’S ADDRESS: 6404 Ivy Lane, Suite 400, Greenbelt, MD 20707 ;
PARTY’S ATTTORNEY’S E-MAIL: tmaloney@jgllaw.com & smorse@jgllaw.com :

 

JURY DEMAND? & Yes O No
RELATED CASE PENDING? (0 Yes &No If yes, Case #(s), if known:
ANTICIPATED LENGTH OF TRIAL?:

hours 3

 

days

 

 

PLEADING TYPE

 

New Case:

Original
Existing Case: 0 Post-Judgment
If filing in an existing case, skip Case Category/ Subcategory section — go to Relief section.

QO) Administrative Appeal

O Amendment

OC Appeal

FEB 18 2022

 

 

 

IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.) CLERK Of 70% S'ACUIT COURT

 

TORTS

CJ Asbestos

© Assault and Battery

Cj Business and Commercial

© Conspiracy

OC Conversion

CJ Defamation

OC) False Arrest/Imprisonment

Cj Fraud

C1 Lead Paint — DOB of
Youngest Plt:

C1 Loss of Consortium

OC Malicious Prosecution

C1 Malpractice-Medical

O) Malpractice-Professional

O Misrepresentation

Oj Motor Tort

C1 Negligence

1 Nuisance

OC Premises Liability

OC Product Liability

OC Specfic Performance

Cj Toxic Tort

Oo Trespass

Oj Wrongful Death

CONTRACT

C Asbestos

© Breach

OC) Business and Commercial

CJ Confessed Judgment
(Cont’d)

©) Construction

0 Debt

© Fraud

CC-DCM-002 (Rev. 10/2021)

©) Government
C1 Insurance
© Product Liability

PROPERTY
CO Adverse Possession
OC Breach of Lease
C7 Detinue
CJ Distress/Distrain
O Ejectment
Cl Forcible Entry/Detainer
0 Forclosure
OC Commercial
C1 Residential
Oj Currency or Vehicle
CO) Deed of Trust
OC) Land Installments
Oj Lien
O Mortgage
OC Right of Redemption
CO Statement Condo
O Forfeiture of Property /
Personal Item
CJ Fraudulent Conveyance
Oj Landord-Tenant
C1 Lis Pendens
OC Mechanic’s Lien
0 Ownership
CJ Partition/Sale in Lieu
OF Quiet Title
CJ Rent Escrow
C Return of Seized Property
OC Right of Redemption
Oj Tenant Holding Over

PUBLIC LAW

Oo Attorney Grievance

OC Bond Forfeiture Remission
Civil Rights

© County/Mncpl Code/Ord
Cj Election Law

Eminent Domain/Condemn.

© Environment

©) Error Coram Nobis

OC Habeas Corpus

O) Mandamus

OC) Prisoner Rights

© Public Info. Act Records
O Quarantine/Isolation

O) writ of Certiorari

EMPLOYMENT

O ADA

Oj Conspiracy

Oj EEO/HR

QO) FLSA

O FMLA

0 Worker’s Compensation
0) Wrongful Termination

INDEPENDENT
PROCEEDINGS

CO) Assupmtion of Jurisdiction
O Authorized Sale

© Attorney Appointment

C1 Body Attachment Issuance
Oj Commission Issuance

Page | of 3

FOR PRINCE GEORGE'S COUNTY, M
© Constructive Trust
CJ Contempt
C1 Deposition Notice
Oj Dist Ct Mtn Appeal
C1 Financial
© Grand Jury/Petit Jury
0 Miscellaneous
CO) Perpetuate
Testimony/Evidence
© Prod. of Documents Req.
OC Receivership
C1 Sentence Transfer
CO Set Aside Deed
C1 Special Adm. — Atty
© Subpoena Issue/Quash
© Trust Established
OC Trustee Substitution/Removal
7 Witness Appearance-Compel

PEACE ORDER
CO Peace Order

EQUITY

© Declaratory Judgment
C1 Equitable Relief

C1 Injunctive Relief

Oj Mandamus

OTHER

CJ Accounting

C1 Friendly Suit

©) Grantor in Possession

CO Maryland Insurance
Administration

OC Miscellaneous

O Specific Transaction

C1 Structured Settlements
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IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)

 

OC Abatement CJ Earnings Withholding Oj Judgment-Default Oj Reinstatement of Employment
1 Administrative Action Cj Enrollment OJ Judgment-Interest CO Return of Property

OC Appointment of Receiver O Expungement Oj Judgment-Summary C1 Sale of Property

C1 Arbitration O) Financial Exploitation CO) Liability OC) Specific Performance
OC Asset Determination CO) Findings of Fact Oj Oral Examination 0) Writ-Error Coram Nobis
Cj Attachment b/f Judgment (©) Foreclosure 0 Order 0) Writ-Execution

C7 Cease & Desist Order © Injunction O Ownership of Property 0) Writ-Garnish Property
Cj Condemn Bldg J Judgment-A ffidavit 0 Partition of Property 0 Writ-Garnish Wages

O Contempt OJ Judgment-Attorney Fees (©) Peace Order 0 Writ-Habeas Corpus

C1 Court Costs/Fees J Judgment-Confessed C1 Possession 0 Writ-Mandamus

&J Damages-Compensatory OJ Judgment-Consent 0) Production of Records 0) Writ-Possession

© Damages-Punitive Oj Judgment-Declaratory © Quarantine/Isolation Order

Ifyou indicated Liability above, mark one of the following. This information is not an admission and may
not be used for any purpose other than Track Assignment.

C2) Liability is conceded. © Liability is not conceded, but is not seriously in dispute. © Liability is seriously in dispute.

 

MONETARY DAMAGES (Do not include Attorney’s Fees, Interest, or Court Costs)
CO Under $10,000 1 $10,000 - $30,000 OF $30,000 - $100,000 2&3 Over $100,000

 

 

 

OC Medical Bills $____ 0 Wage Loss $ C Property Damages $

ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 

 

Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)

 

A. Mediation & Yes ONo C. Settlement Conference & Yes ONo
B. Arbitration Yes ONo D. Neutral Evaluation & Yes ONo
SPECIAL REQUIREMENTS

 

©) Ifa Spoken Language Interpreter is needed, check here and attach form CC-DC-041

© If you require an accommodation for a disability under the Americans with Disabilities Act, check here and
attach form CC-DC-049

 

ESTIMATED LENGTH OF TRIAL

With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF
TRIAL.

 

(Case will be tracked accordingly)
© 1/2 day of trial or less C1 3 days of trial time
Cj 1 day of trial time (3 More than 3 days of trial time
© 2 days of trial time

BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM

 

 

For all jurisdictions, if Business and Technology track designation under Md. Rule 16-308 is requested, attach a
duplicate copy of complaint and check one of the tracks below.

0 Expedited - Trial within 7 months of ©) Standard - Trial within 18 months of

Defendant’s response Defendant’s response

EMERGENCY RELIEF REQUESTED

 

 

 

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COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
MANAGEMENT PROGRAM (ASTAR)

 

FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
Mad. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

©) Expedited - Trial within 7 months of OC) Standard - Trial within 18 months of

Defendant’s response Defendant’s response

 

IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
PLEASE FILL OUT THE APPROPRIATE BOX BELOW.

 

CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 

 

 

Cj Expedited Trial 60 to 120 days from notice. Non-jury matters.

© Civil-Short Trial 210 days from first answer.

Oj Civil-Standard Trial 360 days from first answer.

Oj Custom Scheduling order entered by individual judge.

©) Asbestos Special scheduling order.

OLead Paint _____ Fill in: Birth Date of youngest plaintiff___ —
© Tax Sale Forclosures Special scheduling order.

Oj Mortgage Foreclosures No scheduling order.

 

CIRCUIT COURT FOR BALTIMORE COUNTY

 

Oo Expedited Attachment Before Judgment, Declaratory Judgment (Simple),
(Trial Date-90 days) | Administrative Appeals, District Court Appeals and J ury Trial Prayers,
Guardianship, Injunction, Mandamus.

 

oO Standard Condemnation, Confessed Judgments (Vacated), Contract, Employment Related
(Trial Date-240 days) Cases, Fraud and Misrepresentation, International Tort, Motor Tort, Other
Personal Injury, Workers' Compensation Cases.

 

Ol Extended Standard Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
(Trial Date-345 days) Personal Injury Cases (medical expenses and wage loss of $100,000, expert and
out-of-state witnesses (parties), and trial of five or more days), State Insolvency.

 

oO Complex Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
(Trial Date-450 days) Product Liabilities, Other Complex Cases.

 

 

 

 

 

 

 

 

February 16, 2022 /s/ Timothy F. Maloney 8606010245
Date Signature of Counsel / Party Attorney Number
6404 Ivy Lane, Suite 400 Timothy F. Maloney
Address Printed Name
Greenbelt MD 20707
City State Zip Code

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D

IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MARYLAND

JACQUELINE PELT
2503 Gerry Court
Clinton, Maryland 20735

and

DON CARZELL PELT
2503 Gerry Court
Clinton, Maryland 20735

and

SYRIA PELT
2503 Gerry Court
Clinton, Maryland 20735

Plaintiffs,
Vv.

MARYLAND DEPARTMENT OF STATE
POLICE

Serve:

Office of Legal Counsel

1201 Reisterstown Rd.

Pikesville, Maryland 21208

and

PRINCE GEORGE’S COUNTY,
MARYLAND
Serve:
Office of Law
1301 McCormick Drive, Suite 4100
Largo, Maryland 20774

Defendants.

 

 

CAwaadetot =

CASE No. Fie = —j
JURY TRIAL DEMANDED

 
 

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COMPLAINT AND JURY DEMAND
COMES NOW Plaintiffs Jacqueline Pelt, Don Pelt, and Syria Pelt, and by undersigned

attorneys Timothy F. Maloney and Samuel P. Morse, of Joseph, Greenwald & Laake, P.A, file
this Complaint, sue the Defendants Maryland State Police and Prince George’s County,

Maryland for cause, claim damages, demand judgment and state as follows:

JURISDICTION AND VENUE

1. This Court has jurisdiction over this matter pursuant to Md. Code., Cts. & Jud.
Proc. § 1-501

2. Venue is proper under Md. Code., Cts. & Jud. Proc. § 6-201 because the cause of
action arose in Prince George’s County.

PARTIES NE

3. Plaintiff Jacqueline Pelt, one of the aggrieved parties in this suit, is an adult
resident of Maryland. She resides at 2503 Gerry Court, Clinton, MD 20735. She is an injured
party in this matter, and is the wife of Plaintiff Don Pelt.

4, Plaintiff Don Pelt, one of the aggrieved parties in this suit, is an adult resident of
Maryland. He resides at 2503 Gerry Court, Clinton, MD 20735. He is an injured party in this
matter, and is the husband of Plaintiff Jacqueline Pelt

5. Plaintiff Syria Pelt, one of the aggrieved parties in this suit, is an adult resident of
Maryland. She resides at 2503 Gerry Court, Clinton, MD 20735. She is an injured party in this
matter, and is the daughter of Plaintiffs Jacqueline and Don Pelt.

6. Defendant Maryland State Police (“MSP”) is a law enforcement agency with

statewide jurisdiction in the State of Maryland.
 

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7. Defendant Prince George’s County, Maryland is a municipal corporation
organized under the provisions of Art. XI-E of the Maryland Constitution. The County organizes,
operates, and maintains the Prince George’s County Police Department (““PGCPD”), the primary

law enforcement agency of the County.

NOTICE
1. The State of Maryland received notice under Maryland Tort Claims Act
(“MTCA”) on February 20, 2020.
2. Prince George’s County received notice under the Local Government Tort Claims

Act (“LGTCA”) on February 20, 2020.
FACTS COMMON TO ALL COUNTS
____3..____The amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00).

4. Plaintiffs Jacqueline, Don, and Syria Pelt live, and at all times relevant, lived at
2503 Gerry Court, Clinton, Maryland 20735.

3 Jacqueline Pelt is a certified income tax return preparer, and runs her income tax
preparation business from an office in her home.

6. Jacqueline Pelt was also, at all times relevant, employed by Congresswoman
Eleanor Holmes-Norton.

The Investigation of Don Pelt’s Brother and Nephew

7. On January 8, 2018, the Maryland State Police (“MSP”), and the United States

Department of Homeland Security (“DHS”)! began investigating Don Pelt’s brother, Ronald

Pelt, and his nephew Anthony Pelt, for an alleged fraud scheme.

 

' Plaintiffs Jacqueline Pelt and Syria Pelt have filed suit against the United States
Department of Homeland Security in the United States District Court for the District of
Maryland for claims arising out of the same incident described herein.

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8. Anthony and Ronald Pelt have criminal histories stretching back to at least the
early 1990s.

9. On December 25, 2018, Ronald Pelt was arrested by the Fairfax County Police
Department in Virginia, after attempting to make a purchase at a Home Depot with a fraudulent
check and a fraudulent Maryland driver’s license.

10. While in custody, Ronald Pelt told the police that his name was ‘Alfred Hicks’
and that his address was 2503 Gerry Court Clinton, Maryland 20735.

11. Both of these statements were false.

2. Although Ronald Pelt never lived at 2503 Gerry Ct., law enforcement was aware
of his connection to that address.

——__—__________13.____ For several years, law-enforcement agents came to 2503 Gerry Ct-looking for ———_—
Ronald Pelt, and requested to search the home.

14. Each time, Jacqueline Pelt consented to the requests to search, but explained to
law enforcement that Ronald Pelt did not live at 2503 Gerry Ct.

15. Therefore, law enforcement either knew that Ronald Pelt did not live at 2503
Gerry Ct., or at the very least, had serious reason to doubt the truth of Ronald Pelt’s statements to
the contrary.

16. On January 25, 2019, MSP Trooper First Class Maldonado surveilled various
potential addresses for Ronald Pelt, including 2503 Gerry Ct.

17. TFC Maldonado confirmed that the three cars parked in the drive at 2503 Gerry
Ct., were all registered to Don Pelt, and that there were no signs of Ronald Pelt’s presence at

2503 Gerry Ct.
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9 18, When MSP troopers searched the trash bin outside of 2503 Gerry Ct. in the days
after TFC Maldonado conducted surveillance, they found a letter addressed to Alfred Hicks,
which was the false name given by Ronald Pelt while he was in custody.

19. Based in part on this information, TFC Maldonado applied for a search and
seizure warrant for 2503 Gerry Ct. in the District Court for Prince George’s County on February
21,2019.

20. That same day, Chief Judge C. Philip Nichols, Jr., of the District Court for Prince
George’s County found probable cause and issued the warrant to “Trooper First Class
Maldonado or any duly constituted Police Officer of Maryland State Police.”

The Search of 2503 Gerry Court
——_____—_—_—21,—_At_ approximately $15 a.m, onKebruary-22, 2019, officers from the-Prinee—————_—_____—
George’s County Police Department (“PGCPD”), troopers from the MSP, and agents from DHS
broke through the front door at 2503 Gerry Ct., and executed the search warrant.

22. Plaintiffs Jacqueline, Don, and Syria Pelt ran towards the front door, where they
were met by federal agents pointing rifles at their heads.

23. Plaintiffs Jacqueline, Don, and Syria were instructed to turn away from the law
enforcement agents, and place their hands behind their backs.

24. The law enforcement agents handcuffed all three Plaintiffs, removed the cushions
and pillows from the couch, and sat the Plaintiffs down on the couch.

25, Plaintiff Don Pelt repeatedly asked what was happening, and was not given an
answer, but told that someone would come in later and inform them.

26. As doors were being kicked in, Plaintiff Don Pelt told the agents that he could

provide keys to each of the interior doors so they wouldn’t have to be destroyed.
 

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27. The agents ignored Plaintiff Don Pelt’s offer to provide keys, and proceeded to
destroy the Pelt’s home.

28. For the next several minutes, Plaintiffs listened to agents kick down doors and set
off the security alarms, break glass, and smash holes through the drywall.

29. Specifically, the agents destroyed the basement door, the front door and the storm
door, the security system on the front door, the garage door, the door to the outdoor shed, and

several interior doors.

30. The agents also broke several windows and damaged the drywall throughout the
house.
31. The agents also searched all the vehicles at 2503 Gerry Ct.
32. The agents.also ransacked Plaintiff Jacqueline Pelt’s home office where-she keeps ——

 

 

confidential documents related to her tax return preparation business stored.

33. The agents searched mail addressed to Congresswoman Holmes-Norton that
Jacqueline had in her possession, because she worked for Congresswoman Holmes-Norton

34. This rendered Jacqueline’s office unusable and made it so that she was unable to
conduct any business.

35. The law enforcement agents caused at least $10,000.00 in damage to the property.

36. These damages could have been avoided if the law enforcement agents had
conducted the search in a reasonable manner.

37. While the damage to the property was substantial and costly, the law enforcement
agents that executed the search warrant did so in an unnecessarily violent and destructive

manner, that was patently unreasonable.
 

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38. The extreme and unreasonable manner in which the search was conducted caused
Plaintiff Jacqueline Pelt such stress that she experienced severe chest pain and nearly collapsed.

39, Seeing their wife and mother in medical distress caused Plaintiffs Don and Syria
Pelt to experience severe anguish and distress as well.

AQ, Medical personnel were called to 2503 Gerry Ct., and performed an
electrocardiogram (EKG) and blood pressure reading on Jacqueline.

41. Both readings concerned the medical personnel on site, and Jacqueline was taken
in an ambulance to MedStar Southern Maryland Hospital Center for treatment, and was kept in
the hospital until the next day for observation.

42. The early morning home invasion, destruction of property, and the stress of this

 

event caused long-term psychiatric-consequences:

43. Since February 22, 2019, Plaintiff Jacqueline Pelt suffered from anxiety,
depression, and chronic insomnia.

44, Jacqueline Pelt is unable to sleep soundly, and can only do so with the aid of
sleeping medication.

45, Any noises Jacqueline Pelt hears at night trigger her anxiety, and she fears that
her home will again be broken into.

46. Jacqueline Pelt continues therapy, and schedules additional therapy sessions as
needed.

47, Since the incident on February 22, 2019, Plaintiff Syria Pelt has suffered from
severe anxiety.

48.  Asaresult of this incident, Syria missed two semester of college.
 

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49. Syria Pelt continues to attend therapy sessions, and due to the severity of her
anxiety, has been referred to a psychiatrist for further treatment.

COUNT I
General Negligence- MTCA/LGTCA

50. Plaintiff adopts and incorporates by reference each and every allegation contained
elsewhere herein verbatim with the same effect as it herein fully set forth.

Sl. Defendants owed Plaintiffs a duty to exercise reasonable care in the execution of
the search warrant at 2503 Gerry Ct.

52. Defendants breached this standard of care when they executed the search and
seizure warrant in a violent, extreme, and unnecessarily destructive manner.

53. The Defendants breach caused emotional, physical, and financial harm to the

 

Plaintiffs, and extensive damage to the Plaintiffs’ property.

WHEREFORE, the Plaintiffs, Jacqueline, Don, and Syria Pelt, respectfully demands
judgment against the Defendants in an amount to be determined at trial and in excess of
$75,000.00, plus interest and costs, punitive damages, attorneys’ fees, as well as further and
additional relief as the nature of this case may require and that this Court shall deem just and
proper.

COUNT II
Intentional Infliction of Emotional Distress- MTCA/LGTCA

54. Plaintiff adopts and incorporates by reference each and every allegation contained
elsewhere herein verbatim with the same effect as it herein fully set forth.
55. The Defendants conduct was intentional, reckless, and in deliberate disregard of a

high degree of probability that emotional distress would result.
 

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56. The Defendants conduct—breaking into and destroying the Pelt’s home—was
extreme and outrageous.

57. The Defendants reckless conduct caused Plaintiffs to experience severe emotional
distress that has completely upset their lives and impeded their daily ability to function as they
did before the incident.

WHEREFORE, the Plaintiffs Jacqueline, Don, and Syria Pelt, respectfully demands
judgment against the Defendants in an amount to be determined at trial and in excess of
$75,000.00, plus interest and costs, punitive damages, attorneys’ fees, as well as further and
additional relief as the nature of this case may require and that this Court shall deem just and

proper.

COUNT IL

GRU

I
Negligence Per Se-Violation of CL § 6-301-MTCA/LGTCA

58. Plaintiffadopts and incorporates by reference each and every allegation contained
elsewhere herein verbatim with the same effect as it herein fully set forth.

59. Section § 6-301 of the Criminal Law article of the Maryland Code prohibits the
willful and malicious destruction, injury, or defacing of the real or personal property of another.

WHEREFORE, the Plaintiffs Jacqueline, Don, and Syria Pelt, respectfully demands
judgment against the Defendants in an amount to be determined at trial and in excess of
$75,000.00, plus interest and costs, punitive damages, attorneys’ fees, as well as further and
additional relief as the nature of this case may require and that this Court shall deem just and
proper.

COUNT IV

4 Amendment Violation-42 U.S.C. § 1983
Unreasonable Search and Seizure
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a 60. Plaintiff adopts and incorporates by reference each and every allegation contained
elsewhere herein verbatim with the same effect as it herein fully set forth.
61. 42 U.S.C. § 1983 provides in pertinent part:

Every person who, under color of any statute, ordinance, regulation,
custom, or usage, of any State or Territory or the District of Columbia,
subjects, or causes to be subjected, any citizen of the United States or any
person within the jurisdiction thereof, to the deprivation of any rights
privileges or immunities secured by the Constitution and laws, shall be
liable to the party injured in an action at law, suit in equity, or other proper
proceedings for redress.

62. Plaintiffs have a constitutionally protected right under the Fourth Amendment to
be free from unreasonable searches and seizures.

63. Agents from MSP and PGCPD violated that right during the execution of the

 

—_________—search-and seizure warrant at-2503-Gerry-Ct.-on February19,2019.

WHEREFORE, the Plaintiffs Jacqueline, Don, and Syria Pelt, respectfully demands
judgment against the Defendants in an amount to be determined at trial and in excess of
$75,000.00, plus interest and costs, punitive damages, attorneys’ fees, as well as further and
additional relief as the nature of this case may require and that this Court shall deem just and
proper.

COUNT VI
4" Amendment Violation-42 U.S.C. § 1983
Unauthorized Execution of
Search Warrant (As to PGCPD)

64. Plaintiffs adopts and incorporates by reference each and every allegation

contained elsewhere herein verbatim with the same effect as it herein fully set forth.

65. The search and seizure warrant for 2503 Gerry Ct. was issued and addressed to

TFC Maldonado, and any other duty constituted officers of the Maryland State Police.

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66. The search and seizure warrant was executed by agents of the PGCPD, none of
whom were authorized to execute the search and seizure warrant.

67. Unauthorized persons are permitted to assist in the execution of a search warrant
only where their presence is necessary to conduct the search and seizure.

68. | The presence of the PGCPD was not necessary to execute the search and seizure
warrant.

WHEREFORE, the Plaintiffs Jacqueline, Don, and Syria Pelt, respectfully demands
judgment against the Defendants in an amount to be determined at trial and in excess of
$75,000.00, plus interest and costs, punitive damages, attorneys’ fees, as well as further and

additional relief as the nature of this case may require and that this Court shall deem just and

 

proper.

COUNT VUI
Violation of 18 U.S.C. § 3109

69. Plaintiffs adopt and incorporate by references each and every allegation contained
elsewhere herein verbatim with the same effect as if herein fully set forth.

70. 18 U.S.C. § 3109 provides that if an officer executing a search warrant provides
“notice of his authority and purpose,” and is thereafter “refused admittance,” the officer may
“break open any outer or inner door or window, or any part of a house, or anything therein, to
execute a search warrant.”

71. The officers involved in the search of 2503 Gerry Ct., upon information and
belief, did not announce their authority or purpose and were not refused admittance.

72. In fact, the Plaintiffs tried to facilitate the search by offering to open doors and to

provide keys to locked areas of the house.

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73. The officers then proceeded to break outer and inner doors in the house, windows,
and other parts of the house and outbuildings to execute the search warrant, in violation of 18
U.S.C. § 3109.

WHEREFORE, the Plaintiffs Jacqueline, Don, and Syria Pelt, respectfully demands
judgment against the Defendants in an amount to be determined at trial and in excess of
$75,000.00, plus interest and costs, punitive damages, attorneys’ fees, as well as further and
additional relief as the nature of this case may require and that this Court shall deem just and
proper.

JURY DEMAND

Plaintiffs demand a jury trial as to all claims so triable.

JOSEPH, ee & LAAKE, P.A.
By: 1. ! ~of) f Mn fe)
Timothy F. Maloney, (CPF 8606010245
tmaloney@jgllaw.com

Samuel P. Morse, (CPF 2012180120)
smorse@jgllaw.com

6404 Ivy Lane, Suite 400

Greenbelt, Maryland 20770

Phone: (301) 220-2200

Facsimile: (301) 220-1214

Counsel for Plaintiffs

12
 

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IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MARYLAND

JACQUELINE PELT
2503 Gerry Court
Clinton, Maryland 20735

and

DON CARZELL PELT
2503 Gerry Court
Clinton, Maryland 20735

and

SYRIA PELT
2503 Gerry Court
Clinton, Maryland 20735

Plaintiffs

MARYLAND DEPARTMENT OF STATE
POLICE

Serve:

Office of Legal Counsel

1201 Reisterstown Rd.

Pikesville, Maryland 21208

and

PRINCE GEORGE’S COUNTY,
MARYLAND
Serve:
Office of Law
1301 McCormick Drive, Suite 4100
Largo, Maryland 20774

Defendants.

 

 

case No. CAL 22 -03'1"]

JURY TRIAL DEMANDED

FILED

FEB 18 2022

CLERK OF tye CIRCUIT
OFT COURT
FOR PRincs GEORQE’S COUNTY, Mp
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LINE
Please accept for filing the attached Complaint, issue Summonses thereon, and return the

Summonses to the undersigned counsel for service.

Respectfully Submitted,

Aen aan

Timotl hy B . Maloney, Ebq. (CPF No. 86060102 5)
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IN THE CIRCUIT COURT FOR PRINCE GEORGE’S COUNTY, MARYLAND

JACQUELINE PELT
2503 Gerry Court
Clinton, Maryland 20735

and

DON CARZELL PELT
2503 Gerry Court
Clinton, Maryland 20735

and

SYRIA PELT
2503 Gerry Court
Clinton, Maryland 20735

Plaintiffs,

MARYLAND DEPARTMENT OF STATE
POLICE

Serve:

Office of Legal Counsel

1201 Reisterstown Rd.

Pikesville, Maryland 21208

and

PRINCE GEORGE’S COUNTY,
MARYLAND
Serve:
Office of Law
1301 McCormick Drive, Suite 4100
Largo, Maryland 20774

Defendants.

 

 

FILED

FEB 18 2022
Fon Pant THE “ARCUIT COURT

GEORGE'S COUNTY, Mp

CASE No. ( AL2A “OZ 70 7

JURY TRIAL DEMANDED
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LINE ENTERING APPEARANCE

Please enter the appearances of Timothy F. Maloney, Esq. and Samuel P. Morse, Esq. of

Joseph, Greenwald & Laake, P.A., as Counsel for the Plaintiffs in the above captioned matter.

Respectfully Submitted,

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By | A~~- 0
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